           Case 8:20-cv-00048-JVS-JDE Document 125 Filed 08/21/20 Page 1 of 5 Page ID #:8998


            1    JOSHUA H. LERNER, SBN 220755
                   jlerner@gibsondunn.com
            2    GIBSON, DUNN & CRUTCHER LLP
                 555 Mission Street Suite 3000
            3    San Francisco, CA 94105
                 Tel.: 415.393.8200 / Fax: 415.393.8306
            4
                 H. MARK LYON, SBN 162061
            5      mlyon@gibsondunn.com
                 GIBSON, DUNN & CRUTCHER LLP
            6    1881 Page Mill Road
                 Palo Alto, CA 94304-1211
            7    Tel.: 650.849.5300 / Fax: 650.849.5333
            8    BRIAN M. BUROKER, pro hac vice
                  bburoker@gibsondunn.com
            9    BRIAN K. ANDREA, pro hac vice            ILISSA SAMPLIN, SBN 314018
                  bandrea@gibsondunn.com                    isamplin@gibsondunn.com
          10     GIBSON, DUNN & CRUTCHER LLP              GIBSON, DUNN & CRUTCHER LLP
                 1050 Connecticut Avenue, N.W.            333 South Grand Avenue
          11     Washington, D.C. 20036                   Los Angeles, CA 90071-3197
                 Tel.: 202.955.8500 / Fax: 202.467.0539   Tel.: 213.229.7000 / Fax: 213.229.7520
          12
                 BRIAN A. ROSENTHAL, pro hac vice         ANGELIQUE KAOUNIS, SBN 209833
          13      brosenthal@gibsondunn.com                akaounis@gibsondunn.com
                 GIBSON, DUNN & CRUTCHER LLP              GIBSON, DUNN & CRUTCHER LLP
          14     200 Park Avenue                          2029 Century Park East Suite 4000
                 New York, NY 10166-0193                  Los Angeles, CA 90067
          15     Tel.: 212.351.2339 / Fax: 212.817.9539   Tel.: 310.552.8546 / Fax: 310.552.7026
          16     Attorneys for Defendant Apple Inc.
          17                            UNITED STATES DISTRICT COURT
          18     FOR THE CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
          19     MASIMO CORPORATION,                      CASE NO. 8:20-cv-00048-JVS (JDEx)
                 a Delaware corporation; and
          20     CERCACOR LABORATORIES, INC.,             DECLARATION OF JOSHUA
                 a Delaware corporation,                  LERNER IN SUPPORT OF APPLE’S
          21                                              EX PARTE APPLICATION FOR A
                                    Plaintiffs,           MODIFIED BRIEFING AND EXPERT
          22                                              OBJECTION SCHEDULE FOR
                       v.                                 PLAINTIFFS’ MOTION FOR
          23                                              PRELIMINARY INJUNCTION
                 APPLE INC.,
          24     a California corporation,
          25                        Defendant.            EXPEDITED CONSIDERATION
                                                          REQUESTED
          26
                                                          Before: Hon. James V. Selna
          27
          28

Gibson, Dunn &
                 DECL. OF JOSHUA LERNER IN SUPPORT OF
Crutcher LLP     APPLE’S EX PARTE APPLICATION
                                                                   CASE NO. 8:20-CV-00048-JVS (JDEX)
           Case 8:20-cv-00048-JVS-JDE Document 125 Filed 08/21/20 Page 2 of 5 Page ID #:8999


            1          I, Joshua Lerner, declare and state as follows:
            2          1.     I am an attorney duly licensed to practice law before this Court and all
            3    courts of the State of California. I am a partner with the law firm of Gibson, Dunn &
            4    Crutcher LLP (“Gibson Dunn”) and counsel of record for Defendant Apple Inc.
            5    (“Apple”) in the above-captioned action.
            6          2.     I have personal, firsthand knowledge of the facts stated herein and, if called
            7    upon to do so, could and would competently testify thereto.
            8          3.     I make this Declaration pursuant to L.R. 79-5.2.2 in support of Apple’s Ex
            9    Parte Application for a Modified Briefing and Expert Objection Schedule for Plaintiffs’
          10     Motion for Preliminary Injunction (“Application”).
          11           4.     On March 4, 2020, Plaintiffs sent a letter to my partner, H. Mark Lyon,
          12     “request[ing] that Apple immediately request non-publication for any pending
          13     applications concerning physiological monitoring that may contain information from
          14     former Masimo or Cercacor employees” and listing 19 individuals who “have left
          15     Masimo or Cercacor and subsequently worked for Apple.” The letter did not identify
          16     any patents or Plaintiffs’ purported confidential and trade secret information. Attached
          17     hereto as Exhibit A is a true and correct copy of Plaintiffs’ March 4, 2020 letter.1
          18           5.     On March 6, 2020, Mr. Lyon responded to Plaintiffs’ March 4 letter.
          19     Among other things, the letter requested that Plaintiffs “immediately identify (by line
          20     and page number) any alleged trade secrets that have been disclosed in any published
          21     patent application filed by Apple or in any patent held by Apple.” The letter also
          22     requested that Plaintiffs “identify how any of the alleged trade secret information relates
          23     to each of [the current or former Apple employees that previously worked for Masimo
          24     or Cercacor]—e.g., which specific technologies each individual contributed to, what
          25     aspects of that technology were advanced by their contributions, etc.” In addition, the
          26
          27
                  1
                    The correspondence cited herein includes examples of Apple’s requests for
          28     information identifying any patent that allegedly disclosed any purported trade secret.

Gibson, Dunn &
                 DECL. OF JOSHUA LERNER IN SUPPORT OF
Crutcher LLP     APPLE’S EX PARTE APPLICATION
                                                             1           CASE NO. 8:20-CV-00048-JVS (JDEX)
           Case 8:20-cv-00048-JVS-JDE Document 125 Filed 08/21/20 Page 3 of 5 Page ID #:9000


            1    letter stated that “if Plaintiffs are claiming joint inventorship as to any patent on which
            2    these individuals are named inventors, please identify by page and line number (for each
            3    patent) which person invented what.” Attached hereto as Exhibit B is a true and correct
            4    copy of Mr. Lyon’s March 6, 2020 letter.
            5              6.   On March 27, 2020, Plaintiffs sent a further letter to Mr. Lyon, expressing
            6    Plaintiffs’ “concerns that Apple will continue to publish their confidential and trade
            7    secret information.” The letter did not identify any patents or Plaintiffs’ purported
            8    confidential and trade secret information, as previously requested by Mr. Lyon.
            9    Attached hereto as Exhibit C is a true and correct copy of Plaintiffs’ March 27, 2020
          10     letter.
          11               7.   On April 2, 2020, I responded to Plaintiffs’ March 27, 2020 letter. Among
          12     other things, I informed Plaintiffs that their “ongoing refusal to identify their alleged
          13     secrets . . . is particularly alarming because Plaintiffs claim that their secrets were
          14     already disclosed in Apple’s published patent applications. Therefore, Plaintiffs must
          15     know by page and line number where their alleged secrets appear in Apple’s patent
          16     applications.” I also noted that Plaintiffs’ March 27 letter was “logically and legally
          17     flawed,” including because Plaintiffs refuse to identify the purported past disclosures of
          18     trade secret information in Apple patents that give rise to their non-publication demand.
          19     Attached hereto as Exhibit D is a true and correct copy of my April 2, 2020 letter.
          20               8.   On April 22, 2020, after receiving additional correspondence from
          21     Plaintiffs failing to identify their alleged trade secrets or any Apple patents or patent
          22     applications that purportedly disclosed such secrets, I again informed Plaintiffs of their
          23     failure to provide examples of disclosures of their alleged confidential information in
          24     prior Apple patent applications. In addition I noted that Plaintiffs’ “letters also suggest
          25     that Plaintiffs’ prior employees cannot work within their chosen fields without
          26     disclosing Plaintiffs’ secrets. That is contrary to California law and Plaintiffs’ position
          27
          28

Gibson, Dunn &
                 DECL. OF JOSHUA LERNER IN SUPPORT OF
Crutcher LLP     APPLE’S EX PARTE APPLICATION
                                                              2           CASE NO. 8:20-CV-00048-JVS (JDEX)
           Case 8:20-cv-00048-JVS-JDE Document 125 Filed 08/21/20 Page 4 of 5 Page ID #:9001


            1    is anti-competitive.” Attached hereto as Exhibit E is a true and correct copy of my April
            2    22, 2020 letter.
            3              9.    In July, 2020, we reached agreement with Plaintiffs’ counsel that, for
            4    motions that are not particularly time sensitive, the parties’ default would be a briefing
            5    schedule of at least 21 days for opposition and at least 14 days for reply. That
            6    understanding was memorialized an email exchange from my partner, Ilissa Samplin, to
            7    Plaintiffs’ counsel on July 1, 2020. Attached hereto as Exhibit F is a true and correct
            8    copy of the July 2020 email exchange.
            9              10.   On August 6, 2020, Plaintiffs’ counsel emailed Mr. Lyon, asked that Apple
          10     “finally answer Plaintiffs’ questions . . . regarding whether Apple may allow additional
          11     applications to publish that list former Masimo or Cercacor employees as inventors, and
          12     whether such unpublished applications currently exist[.]” The email did not identify any
          13     patents or Plaintiffs’ purported confidential and trade secret information, as previously
          14     requested by Mr. Lyon and myself. Attached hereto as Exhibit G is a true and correct
          15     copy of Plaintiffs’ August 6, 2020 email.
          16               11.   On August 13, 2020, Mr. Lyon responded to Plaintiffs’ August 6 email.
          17     Attached hereto as Exhibit H is a true and correct copy of Mr. Lyon’s August 13, 2020
          18     letter.
          19               12.   On August 14, 2020, Plaintiffs served an interrogatory response,
          20     significantly later than they originally promised to, identifying some information about
          21     a patent that Plaintiffs claim discloses some of the alleged trade secrets.
          22               13.   On Monday August 17, 2020 at 11:04 p.m. we began receiving Plaintiffs’
          23     public filings relating to their Motion for Preliminary Injunction (“Motion”). We began
          24     receiving the under seal versions at approximately 11:35 p.m. on August 17, 2020.
          25               14.   On August 18, 2020, at approximately 3:00 p.m., Ms. Samplin
          26     telephonically informed counsel for Plaintiffs, Adam Powell and Stephen Larson, that
          27
          28

Gibson, Dunn &
                 DECL. OF JOSHUA LERNER IN SUPPORT OF
Crutcher LLP     APPLE’S EX PARTE APPLICATION
                                                              3           CASE NO. 8:20-CV-00048-JVS (JDEX)
           Case 8:20-cv-00048-JVS-JDE Document 125 Filed 08/21/20 Page 5 of 5 Page ID #:9002


            1    Apple wanted to negotiate the briefing schedule for Plaintiffs’ Motion, and that if the
            2    parties could not agree, Apple would need to move for a new schedule ex parte.
            3          15.    Ms. Samplin followed up by email approximately fifteen minutes later. A
            4    true and correct copy of that email exchange is attached hereto as Exhibit I.
            5          16.    At 8:49 p.m. on August 18, 2020, Plaintiffs responded that they would
            6    agree to an extension if Apple agreed to their demand for interim relief. See Ex. I.
            7          17.    Over the next few days, Apple attempted to reach an agreement on a
            8    stipulation to present to this Court, but could not. Plaintiffs demanded that Apple agree
            9    to prevent not just Apple employees, but agents of any kind and third parties, from
          10     making any “publication” of any kind, not just patent filings, relating to broad subject
          11     matters that are not limited to any alleged trade secret in this case. Apple proposed
          12     various edits and clarified its understanding in an attempt to reach an interim solution
          13     while Apple demonstrates, in its opposition, that Plaintiffs’ Motion is baseless. The
          14     parties, however, were unable to reach agreement. A true and correct copy of the parties’
          15     email correspondence concerning the stipulation is attached hereto as Exhibit J.
          16           I declare under penalty of perjury under the laws of the United States of America
          17     that the foregoing is true and correct.
          18           Executed this 20 day of August, 2020, in San Francisco, California.
          19
          20                                               By: /s/ Joshua Lerner
                                                                Joshua Lerner
          21
          22
          23
          24
          25
          26
          27
          28

Gibson, Dunn &
                 DECL. OF JOSHUA LERNER IN SUPPORT OF
Crutcher LLP     APPLE’S EX PARTE APPLICATION
                                                              4          CASE NO. 8:20-CV-00048-JVS (JDEX)
